                 Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 1 of 11 PageID #:582                                             Sl/n


                                   UNITED STATES DISTRICT COURT
                                                        Northern District of Illinois


               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                          v.

                      ANTHONY SMITH                                           Case Number:             1:16-CR-00164(2)

                                                                              USMNumber:               5106t-424


                                                                              Holly Nicole Blaine
                                                                              Defendant's Attomey


THE DEFENDANT:
EI pleaded guilty to count(s) One (l) and Two (2) of the indictment.
E   pleaded nolo contendere tocount(s) which was accepted by the court.
n   was found guilty on   count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
Title & Section / Nature of Offense                                                                 Offense Ended            Count
l8:l95l.F Interference With Commerce ByThreat Or Violence and l8:2 Aid and Abet                     t0/1412015               I
18:924C.F Violent CrimelDrugs/Machine Gun and l8:2 Aid and Abet                                     t0/14/201s               2




The defendant is sentenced as provided in pages 2 through 8 ofthis judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

E tne defendant has been found not guilty on count(s)
E Count(s)      dismissed on the motion of the United States.

It is ordered that the defendant must notiff the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notiff the court and United States Attorney of material changes in economic circumstances.


                                                                                         10,2019




                                                                                  Gary Feinerman, United States District Judge

                                                                                  Name and Title of Judse
                                                                                           s I llr,t zn"t        7
                                                                                  Date



                          't   I
                    Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 2 of 11 PageID #:583
ILND 2458 (Rev. 03/2912018) Judgment in a Criminal Case
    - Imnrisonment
Sheet 2                                                                                                                           .ludsment   -   Pase 2 of 8

DEFENDANT: ANTHONY SMITH
CASE, NUMBER: I : l6-CR-00164(2)
                                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for consecutive terms of: Sixty
(60) months as to Count One (l) and Thirty-six (36) months as to Count Two (2) of the Indictment, for a total term of Ninety-six (96) months.

tr        The court makes the following recommendations to the Bureau of Prisons: That the Defendant be allowed to participate in the

     Residential Drug and Alcohol Treatment Program and as close as possible to Chicago, Illinois.

A         The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender to the United States Marshal for this district:

          traton
     tr        as   notified by the United States Marshal.

     tr        The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          tr         before 2:00 pm on

          tr         as   notified by the United States Marshal.

          tr         as   notified by the Probation or Pretrial Services Office.




                                                                      RETURN

I have executed this judgment as follows:




Defendant delivered       on                to                                                                 ,   with   a   certified copy of this
judgment.




                                                                                        UNITED STATES MARSHAL


                                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHAL
                 Case:Judgment
ILND 2458 (Rev.3l29D0l8) 1:16-cr-00164        Document
                               in a Criminal Case                 #: 162 Filed: 05/16/19 Page 3 of 11 PageID #:584
   - Supervised Release
Sheet 3                                                                                                                           Judgnent   -   Page 3   of   8

DEFENDANT: ANTHONY SMITH
CASE       NUMBER: 1:16-CR-00164(2)

           MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                                          18 U.S.C $ 3s83(d)


f.'trrr,rea.gq= ='C#1#l;,0rlE; i;),,    H' #;...ji..                   tz) piltr#ff{&i#tua-i.".rhei,tq#Hi-uli run -dpniu'rent

         You must report to the probation office in the district to which you are released within72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:



During the period of supervised release:
X (l) you shall not commit another Federal, State, or local crime.
tr (2) you shall not unlawfully possess a controlled substance.
tr (3) you shall attend a public, private, or private nonprofit oflender rehabilitation    program that has been approved by the court,                   if
              an approved program is readily available within a 5O-mile radius of your legal residence. [Use for a first conviction of a
              domestic violence crime, as defined in S 3561(b).1
tr        (4) you shall register and comply with all requirements of the Sex Offender Registration         and Notification Act (42 U.S.C. $
              16913).
X         (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
X         (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
              supervised release and at least two periodic tests thereafter, up   to I 04 periodic   tests for use of a controlled substance during
              each year ofsupervised release.


 DISCRETTONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C                                                                   S   3563(b) AND
                                18 U.S.C $ 3s83(d)

Discretionary Conditions       The court orders that you abide by the following conditions         the term of supervised release because such
                             - to the factors set forth in $ 3553(aXl) and (aX2XB). (C). during
conditions are reasonably related                                                            and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O, and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:



During the period of supervised release:
X (l)            you shall provide financial support to any dependents iffinancially able.
D Q)             you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of g 3663(a) or
                 S   3663A(cX1XA)).
tr (3)           you shall give to the victims of the offense notice pursuant to the provisions of g 3555, as follows: t'"''
X (4)            you shall seek or work conscientiously at lawful employment, or pursue conscientiously a course of study or vocational
                 training that will equip you for employment.
tr    (5)        you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                 to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                 degree or under stated circumstances; (ifchecked yes, please indicate       restriction(s)) .      ..
A (6)            you shall refrain from knowingly meeting or communicating with any person whom you know to be engaged, or
                 planning to be engaged, in criminal activity and from:


                 E    knowingly meeting or communicating with the following persons: ==:--=
tr    (T         you shall refrain from X any or n excessive use ofalcohol (defined as E having ablood alcohol concentration greater
                 than 0.08); or n        , or any use ofa narcotic drug or other controlled substance, as defined in $ f02 ofthe Controlled
                 Substances Act @U.S.C. S 802), without a prescription by a licensed medical practitioner.
tr (8)           you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
X (9)            I      you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                        include urine testing up to a maximum of 104 tests per year.
                 E      you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                        the use of prescription medications.
                          Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 4 of 11 PageID #:585
ILND 2458 (Rev.3l29l20l8) Judgment in a Criminal Case
    -
Sheet 3        Supervised Release                                                                                                             Judgment   -     Page 4                of   8

DEFENDANT: ANTHONY SMITH
CASE NUMBER: 1:16-CR-00164(2)
                     E    you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifr: .,.,,....-.-..:.)
                                                                                                                                                             .:.._:.:::.:::;;:.;.:




tr (10)              (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                     intervals of time, totaling 71:;.i.:::t:i:...l [ro more than the lesser of one year or the term of imprisonment authorized for the
                     offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                     3563(bX10) shall be imposed only for a violation of a condition,-ol-s,-rlpervised release in accordance with $ 3583(e)(2)
                     and only when facilities are ayailable) for the following period \l:lllllllllllllllllfi.
tr        (l   l)    (community confinement): you shall reside at, or participate in the program of a community corrections facility
                     (including a facility ma_in1_ained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                              of
                     release, for a period                   months.
tr 02)                                          for '
                     you shall work in community service                           hours as directed by a probation officer.
tr ( l3)                                             area:
                     you shall reside in the following place or                                                  area:
                                                                                        , or refrain from residing in a specified place or         :

A  (14)  you shall not knowingly   leave to federal judicial district where you are being supervised, unless granted permission to
         leave by the court or a probation officer.
X (15) you shall report to a probation officer as directed by the court or a probation officer.
X (16) X you shall permit a probation officer to visit you X at any reasonable time or E as specified: ,
                X at home                 fl at work                    X at school               X at a community seryice location
                              X     other reasonable location specified by a probation officer
                     A you shall permit confiscation of any contraband observed in plain view of the probation officer.
X     07)            you shall notiff a probation officer promptly, within72 hours, of any change in residence, employer, or workplace and,
                     absent constitutional or other legal privilege, answer inquiries by a probation officer.
X (18)               you shall notifu a probation officer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
tr (19)              (home confinement): you shall remain at your place of residence for a total of          ,,, ,   .   .-   months during nonworking hours.
                     [This condition may be imposed only as an alternative to incarceration.]
                     tr       Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                              which shall be determined by a probation officer). Elechonic monitoring shall ordinarily be used in connection
                              with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                              in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                              whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                              is recommended that home confinement with voice identification be ordered, which will provide for random
                              checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                              appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                              history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                              elsewhere; requires frequent travel inside or outside the district; or is required to work more than 60 hours per
                              week.
                     n        You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                              financially able to do so.
                      tr The Court waives the electronic/location monitoring component of this condition.
!     (20)           you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                     the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                     support and maintenance of a child or of a child and the parent with whom the child is living.
tr    Ql)            (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                     determination on the issue of deportability by the appropriate authority in accordance with the laws under the
                     Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                     reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                     Secretary of the Department of Homeland Security.
tr    Q2)            you shall satisff such other special conditions as ordered below.
!     (23)           (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                     without   a wilrrant, to a search ofyour person and any property, house, residence, vehicle, papers, computer, other
                    electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                    having reasonable suspicion concerning a violation ofa condition ofsupervised release or unlawful conduct by you, and
                    by any probation officer in the lawful discharge of the officer's supervision functions (see special conditions section).
!     (24)           Other:
                     Case: 1:16-cr-00164
ILND 2458 (Rev. 3129D018) Judgment in
                                              Document #: 162 Filed: 05/16/19 Page 5 of 11 PageID #:586
                                  a Criminal Case
   -
Sheet 3   Supervised Release                                                                                              Judgment   -   Page 5   of   8

DEFENDANT: ANTHONY SMITH
CASENUMBER: 1 : 16-CR-00164(2)
SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3s63(b)(22) and 3583(d)
The court imposes those conditions identified by checkmarks below:



During the term of supervised release:
tr (l) if you have not obtained a high school diploma or equivalent, you shall participate in            a General Educational
                Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
xQ)             you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                days of placement on supervision.
x (3)           you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                from employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
                until gainfully employed. The amount of community service shall not exceed 400 hours.
!     (4)       you shall not maintain employment where you have access to other individual's personal information, including, but not
                limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
tr (s)          you shall not incur new credit charges or open additional lines ofcredit without the approval ofa probation officer unless
                you are in compliance with the flnancial obligations imposed by this judgment.
tr    (6)       you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                with conditions of supervised release.
tro)            you shall notiff the court of any material change in your economic circumstances that might affect your ability to pay
                special assessments.
!     (8)       you shall provide documentation to the IRS and pay taxes as required by law.
tr    (e)       you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                testing. You shall maintain use of all prescribed medications.
                 n You shall comply with the requirements of the Computer and Intemet Monitoring Program as administered by the
                       United States Probation Office. You shall consent to the installation of computer monitoring software on all
                       identified computers to which you have access. The software may restrict and/or record any and all activity on the
                       computer, including the capture of keystrokes, application information, Internet use history, email
                       correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                       warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                       in any way circumvent the software.
                tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                       to satisfaction of other financial obligations imposed by this judgment.
                tr You shall not possess or use any device with access to any online computer service at any location (including
                       place of employment) without the prior approval of a probation officer. This includes any Internet service
                       provider, bulletin board system, or any other public or private network or email system.
                tr You shall not possess any device that could be used for covert photography without the prior approval ofa
                       probation officer.
                tr You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                       sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                       to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                       determination, pursuant to 18 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modifz the
                       conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                tr You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                       you in unsupervised private contact with any person under the age of 18, or visit locations where children
                       regularly congregate (e.g., locations specified in the Sex_O*{f=elder Registration and Notification Act.)
                tr This condition does not apply to your family members: ,, fNames]
                                                                                    "l_
                n      Your employment shall be restricted to the district and division where you reside or are supervised, unless
                       approval is granted by a probation officer. Prior to accepting any form ofemploymentyou shall seek the approval
                       ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to the
                       community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                       that may cause you to come into direct contact with children except under circumstances approved in advance by
                       a probation officer and treatment provider.
                tr     You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                       any other financial information requested.
                n      You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                  Case:Judgment
ILND 2458 (Rev. 3/29/2018) 1:16-cr-00164       Document
                                in a Criminal Case            #: 162 Filed: 05/16/19 Page 6 of 11 PageID #:587
    - Supervised Release
Sheet 3                                                                                                                    Judgment   -   Page 6   of   8

DEFENDANT: ANTHONY SMITH
CASE       NUMBER: 1:16-CR-00164(2)
                        impose restrictions beyond those set forth in this order.
tr (10)         you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
                term of supervised release. Your monthly payment schedule shall be an amount that is at least l0% of your net monthly
                income, defined as income net of reasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                employment-related expenses.
X     (l   l)   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                permission of the probation officer.
tr    Q2)       you shall repay the United States "buy money" in the amount of $            which you received during the commission of
                this offense. (The Clerk of the Court shall remit the funds to        (include Agency and Address).)
tr (13)         if the probation officer determines that you pose a risk to another person (including an organization or members of the
                community), the probation officer may require you to tell the person about the risk, and you must comply with that
                instruction. Such notification could include advising the person about your record ofarrests and convictions and
                substance use, The probation officer may contact the person and confirm that you have told the person about the risk.
X (r4) other:;You shiil observe oji}"ftm.-E                           l{#llffillffieioeui.$dWl   #fiti#rlio,n   officoi;
                  Case:Judgment
ILND 2458 (Rev. 312912018) 1:16-cr-00164       Document
                                in a Criminal Case                  #: 162 Filed: 05/16/19 Page 7 of 11 PageID #:588
Sheet 5 - Criminal Monetary Penalties                                                                                            Judgment   -   Page 7   of   8

DEFENDANT: ANTHONY SMITH
CASE NUMBER: 1 : 16-CR-00164(2)
                                               CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                Assessment          fVTA Assessment*                              Fine                  Restitution
TOTALS                                              s200.00                          $.00                         s.00                              $.00



!      The determination of restitution is deferred     until           . An Amended Judgment in a Criminal Case 1,to z,tscl will be entered after such
       determination.
n      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes apartial payment,   each payee shall receive an approximately proportioned payment, unless specif,red
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(i), all nonfederal
      victims must be paid before the United States is paid.




     tr          Restitution amount ordered pursuant to plea agreement $

     tr          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in ful1
                 before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet
                 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. g 3612(9).
     tr          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 tr                the interest requirement is waived for the

                 !                 the interest requirement for   the        is modified as follows:

     tr          The defendant's non-exempt assets,      if any,   are subject to immediate execution to satisff any outstanding restitution or fine
                 obligations.

     * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
     on or after September 13 , 1994, but before April 23 , 1996 .
                         Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 8 of 11 PageID #:589
ILND 2458 (Rev.0312912018) Judgment in a Criminal Case
    -
Sheet 6       Schedule of Payments                                                                                                         Judgment   -   Page 8   of   8

DEFENDANT: ANTHONY SMITH
CASE NUMBER: I : l6-CR-00164(2)
                                                         SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, palment ofthe total criminal monetary penalties is due as follows:


A         X         Lump sum payment of $200.00 due immediately.

                    tr        balance due not   laterthan      , or

                    tr        balance due in accordance with   E   C,   n   D,   !   E, or    E   F below; or


B         !         Payment to begin immediately (may be combined with               E   C,   n   D, or   n   F below); or

C         tr             equal (e.g. weekly, monthly, quarterly) installments of $
                    Payment in                                                                                       over a period   of   (e.g., months or years),          to
                    commence (e.g., j0 or 60 days) after the date of this judgment; or
D         tr             equal (e.g. weekly, monthly, quarterly) installments of $
                    Payment in                                                                 over aperiod of                            (e.g., months   oryears),to
                    commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or
E         tr        Payment during the term of supervised release will commence within          (e.g., j0 or 60 days) after release from imprisonment.
                    The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F         n         Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr        Jointand Several

Case   Number                                       Total   Amount                            Several
                                                                                         Joint and                      Corresponding Payee,   if
Defendant and Co-Defendant Names                                                         Amount                         Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.*x

tr        The defendant shall pay the cost ofprosecution.

tr        The defendant shall pay the following court cost(s):


A         The defendant shall forfeit the defendant's interest in the following property to the United States: see forfeiture order attached.

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
 Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 9 of 11 PageID #:590                         stn


                             TINITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )      No. 16 CR164-2
               v.                             )
                                              )      Judge Gary Feinerman
ANTHONY SMITH                                 )

                           PRELIMINARY ORDER OF FORFEITURE

       The United States asks this Court to issue a preliminary order of forfeiture pursuant to

Title 18, United    States Code, Section   924(d)(l) and Title 28, United States Code, Section

2461(c), and Fed. R. Crim. P.32.2.

       (a)     On April 12,2016, an indictment was returned charging defendant ANTHONY

SMITH with obstructing, delaying, affecting commerce by robbery, in violation of Title          18,

United States Code, Section 1951(a) (Count One), and using and carrying a firearm during and in

relation to a crime of violence for which he may be prosecuted in a court of the United States,

namely, the robbery affecting interstate commerce as charged in Count One, in violation of Title

18, United States Code, Section 92a@)Q)(A) (Count Two). The indictment sought forfeiture to

the United States of all right, title, and interest the defendant may have in any property involved

in the charged offenses.

       (b)     On September l   l,   2018, pursuant to Fed. R. Crim. P. I l, defendant ANTHONY

SMITH entered a voluntary plea of guilty to Counts One and Two of the indictment. Pursuant to

the terms of his plea agreement and as a result of his violations of Title 18, United States Code,

Sections 1951(a) and 924(c)(1XA), defendant ANTHONY SMITH agreed to the entry                 of   a

preliminary order of forfeiture relinquishing any right, title or interest he has in one Taurus 9mm
Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 10 of 11 PageID #:591




Millennium G2 handgun, bearing serial number TFX36707,r pursuant to Title 18, United States

Code, Section 924(d)(l) and Title 28, United States Code, Section 2461(c).

          (c)      The United States requests that this Court enter a preliminary order of forfeiture

against defendant ANTHONY SMITH as to the foregoing property, because the property was

involved in and used in the offenses of conviction charged in Counts One and Two of the

indictment.

         (d)       Accordingly, this Court orders that a preliminary order of forfeiture be entered

against defendant ANTHONY SMITH as to the foregoing property. Pursuant to Title 18, United

States Code, Section 924(d)(l) and Fed.             R. Crim. P. 32.2, all right, title, and interest of the

defendant in the foregoing property named in this order shall be forfeited to the United States for

disposition according to law.

         (e)       Pursuantto Title 18, United States Code, Section 924(d)(l) and Fed. R. Crim. P.

32.2, the terms and conditions of this preliminary order of forfeiture shall be made part of the

sentence imposed against the defendant and recited                in any judgment and commitment order

entered in the case. In accordance with Rule 32.2(b)(4)(A), at sentencing - or at any time before

sentencing    if the defendant    consents - the preliminary order of forfeiture           will   become final as to

the defendant. Pursuant to Rule 32.2(c),          if a third party files a petition   asserting an interest in the

property to be forfeited, this Court must hold a hearing to determine his rights. Pursuant to Title

21, United States Code, Section 853(n)(2), as incorporated by Title 28, United States Code,

Section 2461(c), third parties have thirty days from the publication of notice or receipt of notice,

whichever is earlier, to file a petition. The preliminary order of forfeiture will remain preliminary

as   to third parties until such an ancillary proceeding, if required, can be conducted under Rule

32.2(c). After disposition of all third party interests, this Court shall, upon the govemment's


' The indictment   and plea agreement mistakenly identifi the serial number as 1FX36707.


                                                         2
Case: 1:16-cr-00164 Document #: 162 Filed: 05/16/19 Page 11 of 11 PageID #:592




motion if appropriate, enter a final order of forfeiture of the property that is the subject of this

preliminary order of forfeiture, thereby vesting clear title in the United States of America. In the

alternative, the govemment may seek entry of turnover order in lieu of a final order of forfeiture,

to allow for the return of the subject property to its rightful owner.

        (0       Pursuant to Title 21, United States Code, Section 853(9), as incorporated by Title

28, United States Code, Section 2461(c), and Fed. R. Crim. P.32.2, the foregoing property shall

upon entry    of this preliminary order of      forfeiture be seized by the Federal Bureau of

Investigation.

        (g)      This Court shall retain jurisdiction to take such additional action and enter such

further orders as may be necessary to implement and enforce this preliminary forfeiture order.



                                                         dl       ?**
                                                       GARY FEINERMAN
                                                       United States District Judge


DATED:           5/1012019
